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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

 LIGTEL COMMUNICATIONS, INC.,

                Plaintiff,

        v.                                            Case No. 1:20-cv-00037-HAB-SLC

 BAICELLS TECHNOLOGIES INC.;
 BAICELLS TECHNOLOGIES NORTH
 AMERICA, INC.,

                Defendants.


                                  DECLARATION OF BO WEI

        I, Bo Wei, declare the following:

        1.      I am a Permanent Resident of the United States of America, domiciled in the State

 of Texas.

        2.      I hold M.S. and Ph.D. degrees in Electrical Engineering from Southern Methodist

 University, Bachelor in Electrical Engineering from Hebei University of Engineering in China.

        3.      I was employed as the President and Chief Executive Officer of Baicells

 Technologies North America Inc. (“Baicells”) from May 2018 to December 2019.

        4.      I have read the Complaint, Declaration of Randy Mead dated January 20, 2020, and

 Declaration of Josh Wentworth dated January 20, 2020.

        5.      On July 29, 2019, I attended and participated in a meeting at LigTel’s office in

 Ligonier, Indiana.

        6.      Rick Harnish, Chief Marketing Officer, and Ronald Mao, Director of Carrier

 Solutions, and I attended this meeting on behalf of Baicells.
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         7.     Randy Mead, Chief Executive Officer and General Manager, Josh Wentworth,

 Network Operations Supervisor, and Mike Troup, Network Operations Manager and Marketing,

 attended the meeting on behalf of LigTel.

         8.     Without prior notice to Baicells, LigTel’s outside counsel also participated in the

 meeting. I was surprised that LigTel’s outside counsel were present for this meeting.

         9.     During this meeting, LigTel’s lawyers did most of the talking.

         10.    LigTel claimed that Baicells’ use of the PLMN code 31198 interfered with LigTel’s

 use of an HNI code of 311-980.

         11.    I responded that, in fact, there is no interference because the PLMN code used by

 Baicells, 31198, is not the same as LigTel’s HNI Code of 311-980.

         12.    Regardless, LigTel presented Baicells with two options during the meeting:

 Baicells could change the PLMN code that it uses, or Baicells could buy LigTel’s HNI Code.

         13.    I asked for more information about the second option.

         14.    After conferring amongst themselves privately, the LigTel representatives returned

 to the meeting and demanded that Baicells pay LigTel $1 million to transfer LigTel’s HNI Code

 to Baicells.

         15.    I expressed my dismay at the demand.

         16.    I then left the meeting with Mead to have a brief private conversation. Mead and I

 were the only ones present during this private conversation.

         17.    I told Mead that LigTel’s $1 million demand was ridiculous. I told Mead that

 LigTel did not need that much money to convert its network to a new HNI code. I told Mead that

 10% of that amount might be acceptable. I told Mead that, if LigTel and Baicells agreed to a

 transfer of LigTel’s HNI Code, then the parties could agree to allow LigTel secondary use of the



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 code. I also offered, as a gesture of good will, a discount on Baicells equipment if LigTel had any

 interest.

         18.    Mead’s statement, that “Wei then offered to have Mao ‘get into’ our Huawei-

 manufactured core and reprogram it himself, so Mao could do it for free and we would not have

 to pay Huawei to do so,” (Mead 1/20/2020 Declaration, ¶13) is patently false. I have never said

 or intimated any such thing, to Mead or to anyone else.

         19.    Mead and I then rejoined the meeting. I stated Baicells’ intention to follow up with

 LigTel after Baicells had an opportunity to confer with Baicells’ counsel.

         20.    The Complaint, Mead’s Declaration, and Wentworth’s declaration contain other

 inaccurate accounts of my private conversation with Mead and of the meeting at LigTel.

         21.    After the meeting at LigTel, Baicells determined to migrate away from the PLMN

 code of 31198 to an HNI Code of 314-030.

         22.    Baicells had started the application process with iConectiv to obtain the HNI Code

 of 314-030 before the July 29, 2019 meeting with LigTel.

         23.    On September 12, 2019, I submitted the Baicells PLMN Migration Plan to IOC to

 be shared at the upcoming IOC meeting on September 20, 2019. I also informed IOC that Baicells

 intended to begin the transition to the HNI Code 314-030 in November 2019 and complete all

 migrations within six to nine months of that date. (See Exhibit 1 hereto (BAICELLS_000032549-

 55).)

         24.    On September 20, 2019, I participated in a telephonic meeting of the IOC, at which

 the Baicells PLMN Migration Plan, and comments submitted by LigTel on the plan, were

 discussed. (See Exhibit 2 hereto (BAICELLS-000008424-25).) During the meeting, the Baicells




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 PLMN Migration Plan was reviewed and agreed upon by the IOC, subject to any feedback

 submitted by September 27, 2019. (See Exhibit 3 hereto (BAICELLS-000008008).)

         25.    LigTel subsequently submitted comments to the IOC regarding the Baicells PLMN

 Migration Plan, and Baicells responded to those comments.

         26.    I participated in a follow-up telephonic meeting of the IOC on November 6, 2019,

 together with Andy Yang, Director of Engineering and Support, and outside counsel, Steve Coran.

 I understand that LigTel was represented by outside counsel during this meeting.

         27.    During this meeting, the IOC and meeting participants reviewed an ATIS summary

 of Baicells’ PLMN migration plan. Baicells agreed to provide periodic progress reports on its

 migration progress to the IOC. The IOC proposed no additional changes to the Baicells migration

 plan.

         28.    Prior to my employment with Baicells, I have worked for: DoCoMo Labs USA

 (May 2004 – August 2004); Nokia Research Center (August 2004 – December 2005); Huawei

 Technologies (February 2006 – February 2010); Nokia Siemens Network (2010 – July 2010);

 AT&T (July 2010 – February 2016); Verizon (February 2016 – January 2017); and Huawei

 Technologies (January 2017 – May 2018).

         29.    During my prior employment with Huawei and my other prior employers, I never

 had any knowledge of, or involvement with, LigTel in any capacity.

         30.    I do not have, and have never had, possession of or access to any documents or

 information that LigTel alleges to be its confidential or trade secret information including, but not

 limited to: LigTel’s encryption code; network architecture, design, and engineering; or the

 operational layout of LigTel’s equipment, core, and servers.

         I declare under penalty of perjury that the foregoing is true and correct.



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       Executed on ________________________ (date) in the State of Texas, United States of

 America.

                                         __________________________________________
                                         Bo Wei




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                  EXHIBIT 1
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